Case 1:14-mc-00008-KD-MU Document 84-2 Filed 09/11/14 Page 1 of 3                    PageID #: 1288




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

  SE PROPERTY HOLDINGS, LLC,                          )
       Plaintiff,                                     )
                                                      )
  v.                                                  )           MISC ACTION 14-8-KD-M
                                                      )
  UNIFIED RECOVERY GROUP, LLC, et. al.,               )
       Defendants.                                    )

                                     WRIT OF EXECUTION

  TO THE UNITED STATES MARSHAL FOR THE SOUTHERN DISTRICT OF ALABAMA:

         You are hereby ordered to seize the real property of the Defendant Green and Sons II,

  LLC, described hereinafter, that will satisfy, in whole or in part, the Judgment entered on

  September 27, 2013, rendered by the United States District Court for the Middle District of

  Louisiana in favor of SE Property Holdings, LLC, and against Unified Recovery Group, LLC,

  IED, LLC, International Equipment Distributors, Inc., Green and Sons II, LLC, Catahoula

  Trading Company, LLC, Memory C. Green, Cecile G. Green, Jeff S. Green and J.S. Lawrence

  Green in said cause, for the principal judgment sum of $23,626,922.31, and such interest as has

  accrued thereon, which accrued interest was in the amount of $10,623,188.48 as of September 9,

  2014, which judgment was enrolled in this District on March 27, 2014. The real property subject

  to this Writ of Execution, located in the County of Baldwin and State of Alabama, is described as

  follows:

         Commence at an iron pin on or near the Northeast corner of the Southwest
         Quarter of the Southwest Quarter of Section 34, Township 7 South, Range 4
         East, Baldwin County, Alabama; thence run North 89 degrees, 42 minutes, 35
         seconds East for a distance of 1660.03 feet to a point; thence run South 00
         degrees, 19 minutes, 07 seconds East for a distance of 30 feet to an iron pin at
         the point of beginning; thence run North 89 degrees, 46 minutes, 26 seconds East
         for a distance of 250.00 feet to an iron pin; thence run South 00 degrees, 19
         minutes, 07 seconds East for a distance of 522.72 feet to an iron pin; thence run
Case 1:14-mc-00008-KD-MU Document 84-2 Filed 09/11/14 Page 2 of 3                    PageID #: 1289




         South 89 degrees, 46 minutes, 26 seconds West for a distance of 250.00 feet to
         an iron pin; thence run North 00 degrees, 19 minutes, 07 seconds West for a
         distance of 522.72 feet to the point of beginning, subject to a 25 foot drainage
         easement along the West side and subject to and together with a 60 foot ingress-
         egress easement described as follows: Commence at an iron pin on or near the
         Northeast corner of the Southwest Quarter of the Southwest Quarter of Section
         34, Township 7 South, Range 4 East, Baldwin County, Alabama; thence run
         North 89 degrees, 42 minutes, 35 seconds East for a distance of 1660.03 feet to a
         point; thence run South 00 degrees, 19 minutes, 07 seconds East for a distance of
         30 feet to a point; thence run North 89 degrees, 46 minutes, 26 seconds East for a
         distance of 220.00 feet to the point of beginning; thence run South 00 degrees, 19
         minutes, 07 seconds East for a distance of 522.72 feet to a point; thence run
         North 89 degrees, 46 minutes, 26 seconds East for a distance of 60.00 feet to a
         point; thence run North 00 degrees, 19 minutes, 07 seconds West a distance of
         522.72 feet to a point; thence run South 89 degrees, 46 minutes, 26 seconds West
         for a distance of 60.00 feet to the point of beginning.

         You are further commanded that you seize and sell said real property from which there

  can be paid the sum of $34,250,110.79, plus additional interest which has accrued, and also

  further the costs, fees and expenses of this action; and make return of this writ and execution

  thereof according to the law.

         You are to make return of this Execution and explain below how you performed the

  specified action.

  Date Issued: ______________________                 ____________________________________
                                                      CLERK OF THE UNITED STATES
                                                      DISTRICT COURT, SOUTHERN
                                                      DISTRICT OF ALABAMA,
                                                      SOUTHERN DIVISION
Case 1:14-mc-00008-KD-MU Document 84-2 Filed 09/11/14 Page 3 of 3                    PageID #: 1290




  EXECUTION DATE: ______________________

  Date of Notice of Sale to Defendant Green & Sons II, LLC: _____________________________

  Date of Posting of Notice of Sale at the Courthouse Door, Baldwin County, Alabama:____________

  REMARKS: ___________________________________________________________________

  ______________________________________________________________________________

  ______________________________________________________________________________




                                                      ____________________________________
                                                      U. S. MARSHAL
